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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

JIAXING SUPER LIGHTING ELECTRIC                  §
APPLIANCE CO., LTD. AND OBERT,                   §
INC.,                                            §
                                                 §
                  Plaintiffs,                    §       CASE NO. 6:20-cv-00018-ADA
                                                 §
vs.                                              §       JURY TRIAL DEMANDED
                                                 §
CH LIGHTING TECHNOLOGY CO.,                      §
LTD., ELLIOTT ELECTRIC SUPPLY                    §       PUBLIC VERSION
INC. AND SHAOXING RUISING                        §
LIGHTING CO., LTD.,                              §
                                                 §
                  Defendants.                    §

        ORDER CONCERNING FINAL PRETRIAL CONFERENCE MOTIONS

       Before the Court are the parties’ respective motions in limine, Defendants CH Lighting

Technology Co., Ltd., Elliott Electric Supply Inc., and Shaoxing Ruising Lighting Co., Ltd.’s

(“CH’s”) Daubert motion, and Plaintiffs Jiaxing Super Lighting Electric Appliance Co., Ltd. and

Obert, Inc.’s (“Super Lighting’s”) motion for sanctions. The Court held a Final Pretrial

Conference concerning these motions on October 6, 2021. During that hearing, the Court

provided oral rulings on each of the motions. The Court now enters those motions.

       It is hereby ORDERED as follows:

                                 Super Lighting’s Motions in Limine

                    Motion                                           Ruling
 Super Lighting’s Motion in Limine No. 1          GRANTED.
 to exclude any reliance on third-party
 documents produced late (this week)              This motion was agreed to by the parties, and
                                                  is therefore granted.

 Super Lighting’s Motion in Limine No. 2          GRANTED.
 to exclude any reliance on third-party
 documents form nonparty, Chinese chip            The Court found that because the documents
                                                  lack a sponsoring witness, Defendants’
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                   Motion                                                 Ruling
manufacturer                                          experts, witnesses, and attorneys are further
                                                      precluded from relying on or referencing for
                                                      any purpose the documents produced by
                                                                , which bear Bates Nos.          -
                                                      0000001-         -0000008.

Super Lighting’s Motion in Limine No. 3               GRANTED.
to exclude any references to any
                                                      This motion was agreed to by the parties, and
                                                      is therefore granted.

Super Lighting’s Motion in Limine No. 4               GRANTED.
to exclude any testimony concerning any
issues related to Defendants’ now dropped             This motion was agreed to by the parties, and
inequitable conduct and unclean hands                 is therefore granted.
allegations
Super Lighting’s Motion in Limine No. 5 to            DENIED.
exclude any references, evidence, testimony
(including expert testimony) or arguments             CH may introduce evidence related to alleged
regarding alleged non-infringing                      non-infringing alternatives that are disclosed
alternatives                                          in CH’s expert reports, and Super Lighting
                                                      may introduce any evidence showing there
                                                      are no non-infringing alternatives, including
                                                      CH’s interrogatory responses that do not
                                                      identify any non-infringing alternatives.

Super Lighting’s Motion in Limine No. 6 to            GRANTED.
exclude any references, evidence, testimony
(including expert testimony), or arguments            This motion was agreed to by the parties, and
that are inconsistent with or rejected in the         is therefore granted.
Court’s claim constructions
Super Lighting’s Motion in Limine No. 7               GRANTED.
to exclude affirmative deposition
designations of Aiming Xiong from the                 This motion was agreed to by the parties, and
unrelated MaxLite case on different                   is therefore granted.
patents
Super Lighting’s Motion in Limine No. 8               GRANTED.
to exclude information relating to
Plaintiffs’ political affiliations, Plaintiffs’       This motion was agreed to by the parties, and
nationalities, and COVID-19                           is therefore granted.

Super Lighting’s Motion in Limine No. 9               GRANTED.
to exclude references, evidence, testimony,
or arguments regarding the                            This motion was agreed to by the parties, and
                                                      is therefore granted.


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                  Motion                                             Ruling

Super Lighting’s Motion in Limine No.             GRANTED.
10 to exclude evidence, argument, and
testimony concerning comparisons of
Accused Products or their components
with either prior art or Super Lighting’s
products/components
Super Lighting’s Motion in Limine No.             MOOTED.
11 to exclude information regarding CH
Lighting’s ownership of patents                   This motion was dropped by Super Lighting,
                                                  and is therefore moot.

Super Lighting’s Motion in Limine No.             MOOTED.
12 to exclude information regarding
certain inventors not testifying and no           This motion was dropped by Super Lighting,
longer working for Super Lighting                 and is therefore moot.

Super Lighting’s Motion in Limine No.             GRANTED.
13 to exclude information regarding
                                                  This motion was agreed to by the parties, and
                                                  is therefore granted.

Super Lighting’s Motion in Limine No. 14          GRANTED.
to exclude any suggestion that Super
Lighting’s reduction of the Asserted
Patents or patent claims to streamline this
litigation amounts to a concession of non-
infringement or invalidity
Super Lighting’s Motion in Limine No.             GRANTED.
15 to exclude any reference to
declarations provided by Defendants’
witnesses or any third party
Super Lighting’s Motion in Limine No. 16          GRANTED.
to exclude any reference to any expert’s
prior work with Super Lighting’s lawyers          This motion was agreed to by the parties, and
or retention by Perkins Coie LLP                  is therefore granted.

Super Lighting’s Motion in Limine No.             GRANTED.
17 to exclude any disparaging remarks
regarding the USPTO and examiners
Super Lighting’s Motion in Limine No.             GRANTED.
18 to exclude improper inequitable
conduct arguments (couched as                     This motion was agreed to by the parties, and
inventorship allegations) from the jury           is therefore granted.


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                  Motion                                              Ruling

Super Lighting’s Motion in Limine No. 19           GRANTED.
to exclude reliance or mention of any third-
party opinions or unasserted patents


                                 CH’s Motions in Limine

                    Motion                                            Ruling
CH’s Motion in Limine No. 1 to preclude            GRANTED.
Plaintiffs from offering outlandish or
conspiratorial theories at trial
CH’s Motion in Limine No. 2 to preclude            GRANTED.
Plaintiffs from discussing the political
affiliations of witnesses                          This motion was agreed to by the parties, and
                                                   is therefore granted.

CH’s Motion in Limine No. 3 to preclude            GRANTED.
Plaintiffs from discussing discovery
disputes and other extraneous matter
CH’s Motion in Limine No. 4 to preclude            DENIED.
Plaintiffs from insinuating that
                                                   The Court clarified that the parties should
                                                   approach the bench before intimating that a
                                                   witness from the other side did something
                                                   unethical or illegal, such as stealing.

CH’s Motion in Limine No. 5 to preclude            GRANTED.
Plaintiffs from referencing the RadIP press
releases and Mr. Jiang’s related comments
CH’s Motion in Limine No. 6 to preclude            DENIED.
Plaintiffs from referencing the


CH’s Motion in Limine No. 7 to exclude             DENIED.
any reference to the “presumption of
validity”
CH’s Motion in Limine No. 8 to preclude            DENIED.
Plaintiffs from referencing Barry Qin’s
unfounded testimony about the advantages
of Super Lighting’s tube lamps




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                                          CH’s Daubert Motion

         IT IS HEREBY ORDERED that Defendants’ Motion to Exclude Certain Opinions and

Testimony of Lauren Kindler is DENIED.

                                 Super Lighting’s Motion for Sanctions

         IT IS HEREBY ORDERED that Plaintiffs’ Motion for Sanctions is GRANTED.

         IT IS FURTHER ORDERED that the following instruction will be provided to the jury in

both preliminary and final jury instructions:

         “CH Lighting and Ruising first learned about the asserted ‘140 Patent on February 16,
         2019, and first learned of the asserted ‘540 and ‘125 Patents in July 2019. Upon learning
         of the asserted patents, CH Lighting and Ruising took no actions other than to retain
         litigation counsel for this case on or about November 12, 2020.”

         The question of attorneys’ fees requested in Plaintiffs’ Motion is hereby STAYED until

after trial.

         IT IS SO ORDERED this 15th day of October, 2021.



                                                     THE HONORABLE ALAN D ALBRIGHT
                                                     UNITED STATES DISTRICT JUDGE




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